USDC IN/ND case 1:18-cv-00402-WCL-SLC document 24 filed 09/30/19 page 1 of 1


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

MELVIN R. WARRICK, IV,
           Plaintiff,                                CASE NO. 1:18-cv-00402-WCL-SLC
v.

TRINE UNIVERSITY,
           Defendant.

                               STIPULATION OF DISMISSAL

  Comes now the Plaintiff, Melvin R. Warrick, IV., by counsel, John C. Theisen, and comes

now the Defendant, Trine University, by counsel, Scott E. Shockley, and the parties stipulate that

this cause of action has been settled and should be dismissed, with prejudice.


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